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                                               2:20-cv-00038-JRG
                     Nanoco Technologies Ltd v Samsung Electronics Co Ltd et al
                                   August 18, 2022 at 10:00 AM
                                             Pretrial Conference
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